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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff, Case No.: 21-cr-00102-CVE-4
VS. Date: 7/1/2021
Court Time: 2:00 p.m.

Shauni Breanne Callagy ,

 

 

Defendant(s). MINUTE SHEET —- ARRAIGNMENT

Susan E. Huntsman, U.S. Magistrate Judge D. Gross, Deputy Clerk Magistrate Courtroom !|
Counsel for Plaintiff; Thomas Eliot Duncombe | Ry an H eather man for
Counsel for
Defendant: Craig M Hoehns , Appt.
Interpreter: CJ sworn
Defendant appears trrpersen for Arraignment on: Indictment; C) Information; CJ Complaint;

By Ny . . ;

S with Counsel; O Counsel waived; OD w/o Counsel;
“W\Defendant acknowledges receipt of Superseding Indictment Indictment: CO Read; W Reading waived;

“S. Defendant advised of charge;

Defendant’s name as reflected inthe Superseding Indictment

‘verified in open court as the true and correct legal name
C) Corrected by interlineation to
to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.

C) Unable to verify in open court as the true and correct legal name: F U.S. Attorney; DJ Deft’s Att. to verify and advise court;
“SUA rraignment held and Defendant pleads Not Guilty; Court accepts plea ‘S Schedule to be entered;

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Defendant waives: U1 Indictment; © Detention Hearing; [J Separate Representation ( Waivers approved by Court;
CJ Arraignment continued to: at

 

C1 Detention Hearing scheduled: at

 

C] Defendant allowed to stand on present bond; C) Government stipulates, findings made
‘S\Defendant remanded to custody of U.S. Marshal

Additional Minutes:

 

 

 

 

 

 

Minute Sheet - Arraignment (CR-01f Modified 6/2020)
